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UN|TED STATES OF AMER|CA,
P|aintift,

VS.
CR. NO. 05-20229-\3

FtODERlC YATES,

Defendant.

 

ORDEFt ON CONT|NUANCE AND SPEClFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel ior the
defendant requested a continuance of the August 1, 2005 trial date in order to allow tor
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
report date ot Nlonday, August 29, 2005, at 9:30 a.m., in Courtroom 1. 11th Floor of the
Federa| Building, lV|emphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(i\/) because the ends of justice served in allowing for additional
time to prepare outweigh the need f§:3 a speedy trial.

|T |S SO ORDERED this l day Of , 2005.

 

 

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Tnis document entered on the docket nee in compliance
with Ftule 55 and/or 32(5} FHCrP on £" Z/ QE @

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20229 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

